                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION
 CRAIG NELSEN,                                      )
                                                    )
                                Plaintiff,          )
                                                    )
                       v.                           )      Case No. 4:18-00895-CV-RK
                                                    )
 SOUTHERN POVERTY LAW CENTER,                       )
 BILL SELLARS,                                      )
                                                    )
                                Defendants.         )
        ORDER DENYING PLAINTIFF’S MOTION FOR CM/ECF PRIVILEGES
       Before the Court is Plaintiff’s motion to be granted CM/ECF privileges. (Doc. 107.) In
order to obtain CM/ECF filing privileges, Plaintiff must complete a non-attorney e-file registration
through an online PACER account. The Court will then review his admission request and provide
him with further instructions via email. Therefore, the motion is DENIED. The Clerk of Court is
directed to mail a copy of this order to:
       Craig Nelsen
       515 Shady Avenue
       St. Joseph, MO 64505
       IT IS SO ORDERED.



                                                s/ Roseann A. Ketchmark
                                            ROSEANN A. KETCHMARK, JUDGE
                                            UNITED STATES DISTRICT COURT

  DATED: July 31, 2020




          Case 4:18-cv-00895-RK Document 115 Filed 07/31/20 Page 1 of 1
